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 MAIL TO:
 Gary Bohannon and Kendra Bohannon
 3103 N. Governeour St
 Wichita, KS 67226

                                      STATUTORY WARRANTY DEED

 Duaglo, LLC, a Kansas limited liability company, Grantor, conveys and warrants to

 Michael Capps, Grantee, the following described premises, to-wit:

      Lot 4, Block 2, Cottonwood VIiiage Sixth Addition to Wichita, Sedgwick County, Kansas.

For the sum of One Dollar and other good and valuable consideration.
Subject to: easements and restrictions of record, if any.
"Grantor" and "Grantee" are used for the singular or plural as context requires.

 Executed to be effective as of December 14, 2023.

 Duaglo, LLC, a Kansas llmlted llablllty
 company


 By://cd��
     aliFruechting, Manage!'


State of Kansas, County of Sedgwick} ss.

This instrument was acknowledged before me on December 14th, 2023 by Vail Fruechting, Manager of Duaglo,
LLC, a Kansas limited liability company, for and on behalf of said company.


My Commission Expires:      ---------                                                                                   Notary Public
                         TAMMY HAMMAN
                          NOTARY PUBLIC
                        STATE OF KANSAS
                        MY COMM EXPIRES
                            06-30-2024

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